                                                                    SO ORDERED.


                                                                    Dated: May 7, 2018
                             UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF ARIZONA
                                        Minute Entry Order
                                                         Eddward P. Ballinger Jr., Bankruptcy Judge
                                                                    _________________________________
Hearing Information:
                 Debtor:   NATALIE ELAYNE JOHNSON
           Case Number:    2:16-BK-10288-EPB      Chapter: 13

     Date / Time / Room:   FRIDAY, MAY 04, 2018 10:30 AM 7TH FLOOR #703
    Bankruptcy Judge:      EDDWARD P. BALLINGER JR.
      Courtroom Clerk:     ANNETTE FRANCHELLO
       Reporter / ECR:     MARGARET KELLY                                                       0

Matters:
     1) CONTINUED STATUS HEARING ON DEBTOR'S CHAPTER 13 PLAN
        R / M #: 49 / 0

     2) HEARING ON WHETHER THIS CASE SHOULD BE CONVERTED OR DISMISSED
        R / M #: 0 / 0

     3) DEBTOR'S OBJECTION TO ORDER APPROVING PAYMENT OF ADMINISTRATIVE EXPENSES
        R / M #: 79 / 0


Appearances:
     RACHEL FLINN, ATTORNEY FOR RUSSELL BROWN, TRUSTEE (T)
     CHRISTOPHER JAMES DUTKIEWICZ, ATTORNEY FOR NATALIE ELAYNE JOHNSON
     DAVID L. KNAPPER, ATTORNEY FOR PENSCO TRUST COMPANY CUSTODIAN FBO MARK A.
     GREENBERG IRA (T)
     NATALIE JOHNSON, DEBTOR (T)




   Case
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                                  UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF ARIZONA
                                          Minute Entry Order
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Proceedings:                                                                             0

       ITEM # 1 & ITEM # 2

       Ms. Flinn informs the Court that an agreement has been reached with Ms. Johnson and Mr.
       Knapper. She has circulated a proposed stipulated order of confirmation regarding a new plan
       payment schedule resolving the issue of post-petition fees. She states that everyone agrees
       that as long as Ms. Johnson remains current on plan payments and post-petition mortgage
       payments through July, Pensco will sign off on the stipulated order confirming plan. During
       this time period, Mr. Knapper has also agreed to keep his attorney fees on hold.

       The Court suggests continuing the hearing to early August.

       Ms. Flinn agrees.

       The Court calls for any objections. There are no objections.

       COURT: IT IS ORDERED continuing this matter to August 10, 2018 at 10:30 a.m., subject to
       vacate upon the filing of a stipulated order of confirmation.

       ITEM # 3

       The Court asks if the parties have any additional arguments to present.

       Ms. Johnson has stated everything in her objection.

       Mr. Dutkiewicz states that the firm has complied with the requirements of Rule 2084-3 for the
       awarding of attorney fees. He believes the docket speaks for itself though it does not show
       the approximate 500 emails exchanged with the Debtor. He asks that the full flat fee be
       awarded.

       COURT: IT IS ORDERED taking this matter under advisement.

       LATER:

           After further review,

           IT IS ORDERED denying Debtor's pending objection to former counsel's fee award request.




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